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AO 199A (Rev. 12111) Order Setting Conditions of Release                                                        Page 1 of    3   Pages

                                                                                                                   FILED IN OPLN COURT
                                                                                                                       U.S.D.C. J\tlanta
                                            UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Northern District of Georgia                                                  k



               UNITED STATES OF AMERICA                                 )
                                     v.                                 )
                                                                        )               Case No.: 1:18-CR-352
                  MOHAMED KAZIM MOMIN                                   )
                                Defendant                               )


                                            ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)    The defendant must not violate federal, state, or local law while on release.

(2)    The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S. C. § l 4 J 35a.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making any
       change of residence or telephone number.

(4)    The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that the
       court may impose.

       The defendant must appear at:
                                                                                            Place




       on                                                                                                                   ·-··---·---




                                                                        Date and Time


       If blank, defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, ifordered
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AO 19913.      (Rev. 1211 JJ Additional Conditions ofRelease                                                                             Page _J_ of    _}___P ages

                                                         ADDITIONAL CONDITIONS OF RELEASE

         IT JS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

 (   )         The defendant is placed in the custody of
             (6)
              Person or organization                                                                    ··--·----------


              Address (only ifabove is an organization)          _ -----··-------


              City and state                                                                                             Tel. No.
who agrees to (a) supervise the d�fendant, (b) use�ery ""°iJJort to assure the defendant's appearance at all court proceedings, and (c) �otifY the courtlmmedi-;ie/y ifthe
defendant violates a condition of release or is no longer in the custodian's custody.

                                                                             Signed:
                                                                                                           Custodian                                     Date
(X) (7)        The defendant must:
   (X )        (a) submit to supervision by and report for supervision to the      �S. Pretrial Services () US. Probation Office
                    telephone number        404-215-1900/191Q__             ( )No later than                        �
                                                                                                                 Before leaving courthouse, or
         ( x) (b) continue or actively seek employment.
         (   ) (c) continue or start an education program.
         ( x) (d) surrender any passport to: your supervising officer by : tt!2.t.J'     /11$
                                                                                           , and do not obtain nor possess a passport or other international
                    travel document, not obtain or possess a passport or other international travel document in your name, another name or on behalfof a third
                    party, including minor children.
         (   ) (e) abide by the following restrictions on personal association, residence, or travel:     _.m�/ !t(ef (;.;;          ��            �
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                   -AJLc,.,dL� /),.t:! 1!411rSSuJU.?JT=
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                                                                                              _       - -�·                   -----
                                                                                                                                            C/
         (X )(f) avoid all contact,� or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                                                           •     •                                                                                ---




                    including:             _    (l�eE_��e X(!;� �y
                                               __



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                                                                                                                     ___
                                                                                                                        _ ___                             _
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                                                                                                                                ()
                                                                                                                                                         _

         (         ) (g) get medical or psychiatric treatment:       ( ) as directed by your supervising officers
                                                                                         ------ ----· ·----                    ·---- "" - - ---·----- -· --------·-


         (   ) (h) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                   necessary.
         ( X ) (i) not possess a firearm, destructive device, other weapon, or ammunition, in your home, vehicle or place of employment, or upon your
                    person.
         ( x ) (j) not use alcohol (           ) at all c><. ) excessively.
         ( X) (k) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 USC. § 802, unless lawfally prescribed by a medical
                    licensed medical practitioner.
         (   ) (!) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
                   frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance
                    screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited substance
                   screening or testing.
         (   ) (m) participate in a program of inpatient or outpatient substance abuse therapy and counseling ifdirected by the pretrial services office or supervising
                    officer.
         (   ) (n) participate in one of the following location restriction programs and comply with its requirements as directed.
                    (     ) (i) Cuifew. You are restricted to your residence every day (               )from                      to  _______      , or (       ) as
                                  directed by the pretrial services office or supervising officer; or
                    (     ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                                  substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities approved
                                  in advance by the pretrial services office or supervising officer; or
                    (     ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and court
                                  appearances or other activities specifically approved by the court.
         (   ) (o) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                    requirements and instructions provided.
                    (     ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                            supervising officer.
         ( x) (p) report within 72 hours to the pretrial services office or supervising officer, every contact with law enforcement personnel, including arrests,
                  questioning, or traffic stops.
         ( x) (p) restrict travel to the Northern District of Georgia unless the supervising officer has approved travel in advance.
         ( ) (r)           ------�-------· ----                      ---   ·-----------



         (         ) (s)   ----- --·------··· ---




         (         ) (t)
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'f'MQ I99't   (Rev.•I2103) Advice   ofPenalties ..                                                              Page       3     of -�3�- Pages

                                                        Advice ofPenalties and Sanctions

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

        Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, a fmfeiture of any bond, and a prosecution for contempt of court and could result in a term of
imprisonment, a fine, or both.
        While on release, if you commit a federal felony offense, the punishment is an additional prison term of not more than ten
years; if you commit a federal misdemeanor offense, the punishment is an additional prison term of not more than one year. This sentence will
be consecutive (i.e., in addition to) any other sentence you receive.
        It is a crime punishable by up to ten years of imprisonment and a $250, 000 fine or both to: obstruct a criminal
investigation; tamper with a witness, victim or ieformant; or intimidate or attempt to intimidate a witness, victim, juror, ieformant, or officer
of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.
        if after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed If you are convicted of
        (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifieen years or more, you shall be fined
              not more than $250,000 or imprisoned for not more than JO years, or both;
        (2) an offense punishable by imprisonment for a term of fzve years or more, but less thanfifieen years, you shall be fined not
              more than $250,000 or imprisoned for not more than.five years, or both;
        (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
        (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
        A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted

                                                         Acknowledgment ofDefendant

      I acknowledge that I am the defendant in this case and that 1 am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed 1 am aware of the penalties and sanctions set forth above.

                                                                                 )- ft{dt_o,�e,lfcc-l!;,'-- ��
                                                                                               Sign     e of Deiendant

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                                                                                                               Address

                                                                                       No�1 '1\-                         �)             <t0V-"796-�
                                                                                       ciry and State                                Telephone



     /                                    Directions to United States Marshal

(   �he defendant is ORDERED released after processing.
(    ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk orjudge that the defendant has posted
       bond and/or complied with all other conditions for release. Ifstill in custody, the defendant must be produced before the appropriate
       judge at the time and place specified


                                                                                                                               cer


                                                                                                 Name and Title of Judicial Officer

                          DISTRIBUTION:         COURT   DEFENDANT     PRETRIAL SERVICE       US. ATTORNEY      US. MARSHAL
